Case 1:18-cv-04023-LGS-SDA Document 510-1 Filed 10/07/22 Page 1 of 7




              EXHIBIT 1
    Case 1:18-cv-04023-LGS-SDA Document 510-1 Filed 10/07/22 Page 2 of 7



UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK


RICHARD ROSARIO,

                  Plaintiff,

    -against-
                                                18-cv-4023 (LGS)
THE CITY OF NEW YORK, et al.,


                Defendants.



                 DECLARATION OF ANDREW G. CELLI, JR.,
         IN SUPPORT OF PLAINTIFF'S MOTION FOR ATTORNEYS' FEES

       ANDREW G. CELLI, JR., an attorney admitted to practice in the State of New York,

declares under penalty of perjury as follows:

       1.       I am a co-founding partner in the law firm of Emery Celli Brinckerhoff Abady

Ward & Maazel, LLP ("ECBAWM"). I write in support of the attorneys' fee application

submitted in the above-captioned matter by plaintiffs' counsel Neufeld Scheck & Brustin, LLP

("NSB"), a firm whose principals I have known, worked with, and admired as leaders in the field

of complex federal civil rights litigation for many years. Based upon my experience for the last

thirty-one years as a lawyer practicing in this field in New York City, my many observations

and interactions with NSB's lawyers during most of this time, and my personal knowledge of

prevailing rates for attorneys of their high caliber and outstanding reputation in New York

City, I fully support NSB's application under 42 U.S.C. Section 1988 in all respects.




                                                1
     Case 1:18-cv-04023-LGS-SDA Document 510-1 Filed 10/07/22 Page 3 of 7




        2.      In order to assist the Court in evaluating my declaration, I wish to describe briefly

my professional background. Federal civil rights litigation and the representation of plaintiffs (and,

for a time, the Office of the Attorney General of the State of New York) in police misconduct,

employment, and voting rights litigation has been a core area of my practice for virtually my entire

legal career. I have litigated dozens of civil rights cases in New York, in the federal and state courts

at both the trial and appellate levels.

        3.      From 1999 through 2003, I served as Chief of the Civil Rights Bureau in the Office

of New York State Attorney General Eliot Spitzer, where I was responsible for developing and

implementing the States' civil rights enforcement agenda through investigations, litigation, and

policy initiatives. I am a 1990 cum laude graduate of New York University School of Law and, in

the early years of my practice, I clerked for the Hon. Charles P. Sifton of the United States District

Court for the Eastern District of New York, and I was a litigation associate at the firm Cravath,

Swaine & Moore LLP.

       4.       I have published and lectured widely on civil rights and civil liberties issues,

appearing at the National Association of Attorneys General, Harvard Law School, New York

University School of Law, Albany Law School, and the Association of the Bar of the City of New

York, and publishing in the New York University Law Review, the New York Law Journal, the

National Law Journal, the Albany Law Review, the Cardozo Arts and Entertainment Law Journal,

and the New Republic.

       5.       I also served as a commissioner and vice-chair of the New York State

Temporary Commission on Lobbying from 2004 through 2007, and as a commissioner of the New

York State Commission on Public Integrity from 2007 through 2011.




                                                   2
    Case 1:18-cv-04023-LGS-SDA Document 510-1 Filed 10/07/22 Page 4 of 7




       6.      The firm that I co-founded and where I am currently a partner, Emery Celli

Brinckerhoff Abady Ward & Maazel, LLP, specializes in civil rights and commercial litigation.

In both contexts, we regularly litigate alongside and against some of the best­ known firms and

lawyers in New York, in both the commercial and the civil rights arenas. We are generally

compensated either through traditional hourly fee arrangements or through contingency fee

arrangements predicated on fee-shifting regimes under 42 U.S.C. Section 1988 or under the

Prison Litigation Reform Act. Accordingly, based on my experience practicing law in New

York City for the last thirty-one years, I am fully aware of the prevailing hourly rates charged

by New York City law firms, especially those firms, such as Neufeld Scheck & Brustin, LLP,

that specialize in complex federal civil rights litigation. Indeed, since ECBAWM submits

Section 1988 fee requests and applications in connection with its own cases, it is incumbent

upon me to be knowledgeable about prevailing rates.

       7.      Over the years, I have worked with Neufeld Scheck & Brustin, LLP, and

particularly with Nick Brustin, on many occasions. My firm, ECBAWM, worked as co-counsel

with NSB on a police misconduct case in New Jersey involving the shooting death of a Native

American man, in which Nick Brustin served as lead counsel for NSB, assisted by Emma

Freudenberger. I personally tried that case with Mr. Brustin and Ms. Freudenberger. Currently,

ECBAWM represents plaintiffs in a number of wrongful conviction cases that are now at various

stages, including the investigation stage, pre-trial discovery, settlement, and preparing for and

awaiting trial, and we have consulted with the lawyers at NSB on such cases.

       8.      The lawyers at NSB are among the finest litigators I have ever met in my career.

As a group, they are downright formidable. I would venture to say that there is not a superior

group of civil rights and constitutional litigators in the private bar in New York City. Each is a

                                                3
    Case 1:18-cv-04023-LGS-SDA Document 510-1 Filed 10/07/22 Page 5 of 7



highly experienced, skilled practitioner with a reputation for excellence in the New York City legal

community.

       9.       It would be an understatement to say that NSB's legal work is at least as good as the

work of the large New York City law firms, with which ECBAWM is familiar; it is consistently

better than the average work product that we encounter from the typical New York City law firm.

Indeed, their expertise is such that, when matters arise in our firm's civil rights cases that are of

particular complexity or difficulty, we often call upon NSB's lawyers for consultation. This is

particularly true in wrongful conviction cases, like this one, due to the large number of such cases

NSB has handled in New York and around the country and their specialized expertise in this area.

       10.      My understanding is that the hourly rates charged by the counsel and paralegals

involved in this litigation under prevailing rates in the Southern District of New York market are as

follows:

           Name of Counsel                Role                        Hourly
                                                                      Rate
           Nick Brustin                   Partner                     900
           Anna Benvenutti                Partner                     800
           Hoffmann
           Emma Freudenberger             Partner                     800
           Amelia Green                   Partner                     500
           Len Kamdang                    Senior Associate            450
           Richard Sawyer                 Senior Associate            450
           Sona Shah                      Senior Associate            450
           Bettina Roberts                Senior Associate            425
           Christina Matthias             Senior Associate            425
           Katie McCarthy                 Senior Associate            425
           Avinash Samarth                Associate                   400
           Katie Haas                     Associate                   400
           Kate Fetrow                    Associate                   375
           Gerardo Romo                   Associate                   350
           Rhianna Rey                    Associate                   325
                                          Paralegals/ Law             200
                                          Clerks

       11.      In my professional judgment, these hourly rates are reasonable in the Southern
                                                 4
    Case 1:18-cv-04023-LGS-SDA Document 510-1 Filed 10/07/22 Page 6 of 7



District of New York market, for a complex case like the Rosario litigation. Given Mr. Brustin's

experience, skill, and reputation, his rates are consistent with prevailing market rates for New York

City lawyers practicing in federal courts in New York City. Likewise, the experience and credentials

of Anna Benvenutti Hoffmann, Emma Freudenberger, and Amelia Green, as well as NSB's

associates, more than warrant the rates requested.

        12.     Indeed, in my experience, the named partner's and partner's rates and the rate of

NSB associates are substantially lower than the prevailing rates at the major Southern District of

New York law firms for lawyers of comparable skill and experience. My firm, which has a similar

profile to NSB, regularly charges and collects similar rates per hour for the time of comparably

experienced and credentialed lawyers as NSB has requested in this case, and ECBAWM has

recovered attorneys' fees in New York at rates comparable to those requested. Specifically, at

ECBAWM, my customary hourly billing rate is $825, our senior partner bills at $900-950 per hour,

our junior partners bill between a range of $550-650 and our associates between $450 and $500.

        13.     As I understand it, NSB's particular expertise in Section 1983 wrongful conviction

litigation was heavily utilized in this case. I also understand there were some particular complications

posed by the litigation here, including the number of third-party witnesses, complexities in the

procedural history of the underlying criminal proceedings, and challenges caused by preparing for

trial during COVID. As a civil rights litigator, I recognize the unique complexity and difficulty of

cases like this one. The end result was good given the circumstances of the case.

        14.     In my professional judgment, based on their skill, reputation, experience, and

outstanding result in this case, NSB attorneys merit compensation here at the top of the relevant

market range.




                                                   5
   Case 1:18-cv-04023-LGS-SDA Document 510-1 Filed 10/07/22 Page 7 of 7



      15. I swear under penalty of perjury that the foregoing is true and correct.


Dated: __________________,
         September 30 2022
       New York, New York


                                                          _____________________________
                                                              ANDREW G. CELLI, JR.




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